Case 1:01-cv-12257-PBS Document 7175-1 Filed 07/09/10 Page 1 of 6




                       EXHIBIT I
            Case 1:01-cv-12257-PBS Document 7175-1 Filed 07/09/10 Page 2 of 6



Stiroh, Ph.D., Lauren J. - Vol. I                                                                May 12, 2009
                                                    New York, NY


                                                                                                    Page 1
    1                           UNITED STATES DISTRICT COURT

   2                                DISTRICT OF MASSACHUSETTS

   3

   4       IN RE: PHARMACEUTICAL                           )   MDL No. 1456

   5       INDUSTRY AVERAGE WHOLESALE                      )

   6       PRICE LITIGATION                                )   Master File

   7       -----------------------------) No. 01-CV-12257-PBS

   8       THIS DOCUMENT RELATES TO:

   9       -----------------------------) Subcategory

  10       United States of America,                       )   No. 06-CV-11337-PBS

  11       ex rel. Ven-A-Care of the                       )

  12       Florida Keys, Inc., v.                          )   Hon. Patti B. Saris

  13       Abbott Laboratories, Inc.,                      )

  14       CIVIL ACTION NO. 05-11084-PBS) VOLUME I

  15

  16                                     May 12, 2009 - 9:02 a.m.

 17                           Deposition of LAUREN J. STIROH, Ph.D.,

 18        taken by attorneys for Venacare, pursuant to

 19       notice, held at the offices of Kelley Drye &

 20       Warren LLP, 101 Park Avenue, New York, New York,

 21       before Helen Mitchell, a Shorthand Reporter and

 22       Notary Public.




                                           Henderson Legal Services, Inc.
202-220-4158                                                                  www.hendersonlegalservices.com
             Case 1:01-cv-12257-PBS Document 7175-1 Filed 07/09/10 Page 3 of 6




Stiroh, Ph.D., Lauren J. - Vol. I                                                          May 12, 2009
                                                New York, NY


                                                                                              Page 46
    1                A.       Yes.

   2                 Q.       What contact was that?

    3               A.        I had telephone conversations with --

    4      that I recall, Gary Walker and Russell Johnson.

    5                Q.       In your summary of the plaintiffs'

    6      claims in this litigation you make note that the

   7       complaint alleges that Dey reported inflated AWPs

    8      that bore little or no relationship to the prices

    9      paid.

  10                          I believe it's at page 2, in about the

  11       second paragraph.

  12                A.        Yes, I see that.

  13                 Q.       Do you disagree with that allegation

  14       that is made by the government?

  15                A.        In a sense I do. The AWP per Dey has

  16       meaning per Dey, and so it is not right to say it

  17       is false and inflated. It has an economical

  18       meaning in the context in which Dey uses its AWP.

  19                Q.        What is the context in which Dey uses

 20        AWP?

 21                 A.        As a signal at launch that it has a

 22        generic pharmaceutical product that is generic to



                                        Henderson Legal Services, Inc.
202-220-4158                                                             www.hendersonlegalservices.com
            Case 1:01-cv-12257-PBS Document 7175-1 Filed 07/09/10 Page 4 of 6



Stiroh, Ph.D., Lauren J. - Vol. I                                                         May 12, 2009
                                                New York, NY


                                                                                             Page 47
    1      a brand and is eligible to be substituted for the

    2      brand under generic substitution laws.

    3               Q. . What understanding do you have of what

    4      a company needs to do in order to give that

   5       signal at launch?

    6               A.        My understanding is that a company of

   7       -- generic pharmaceutical manufacturer has to

   8       have a pharmaceutical product that is approved by

   9       the FDA, that it has to be the same dosage,

  10       strength, route of administration as the brand to

  11       which it is generic, and that the signal that the

 12        product that is a generic and available for

 13        distribution to end patients comes from a

 14        published AWP at launch that is below the brand

 15        AWP.

 16                 Q.       Any amount below?

 17                 A.       My understanding, there is essentially

 18        an industry practice that it is 10 to 20 percent

 19        below the AWP.

 20                 Q.       Where does that understanding come

 21        from?

 22                 A.       As it applies to this case, from



                                       Henderson Legal Services, Inc.
202-220-4158                                                            www.hendersonlegalservices.com
             Case 1:01-cv-12257-PBS Document 7175-1 Filed 07/09/10 Page 5 of 6




Stiroh, Ph.D., Lauren J. - Vol. I                                                          May 12, 2009
                                                 New York, NY


                                                                                              Page 48
    1      deposition testimony in connection with this

   2       case.

   3                Q.        Did you have that understanding prior

   4       to this case?

   5                A.        I don't recall specific understanding.

   6       Certainly in reading the deposition testimony

   7       connected with the industry practice of

   8       publishing an AWP approximately 10 percent below

   9       a brand was not outside of any understanding I

  10       had prior to this case.

  11                Q.        Let me just make sure I understand

  12       that.

  13                          Are you saying that you did not have

  14       any particular understanding about setting a

 15        generic AWP at 10 to 20 percent below the brand

 16        AWP before your involvement in this litigation?

 17                 A.       No.    I generally had an understanding

 18        of distribution chains in the pharmaceutical

 19        industry.           And while I don't recall ever having a

 20        fixed understanding of the amount by which AWP is

 21       below the brand AWP, what I reviewed in this case

 22       essentially didn't seem to me to be outside my



                                        Henderson Legal Services, Inc.
202-220-4158                                                             www.hendersonlegalservices.com
            Case 1:01-cv-12257-PBS Document 7175-1 Filed 07/09/10 Page 6 of 6



Stiroh, Ph.D., Lauren J. - Vol. I                                                          May 12, 2009
                                                New York, NY


                                                                                            Page 157
    1                Q.       Why did you feel it significant to

   2       express your opinions about what Dey believed or

   3       what Dey had reason to believe?

   4                A.        My opinion is not on what Dey believed.

   5       My opinions, as summarized in the -- starting on

   6       page 3 -- have to do with whether it is

   7       economically rational or reasonable, given the

   8       full information available in the market, for a

   9       Dey to think that its prices either have or do

  10       not have an impact on Medicaid and Medicare

  11       reimbursement, whether there is a reasonable

  12       basis for them to believe that Medicare and

  13       Medicaid were not deceived by its pricing

  14       practices, and whether there is an economic

 15        reason for Dey to have believed that Medicaid and

 16       Medicare reimbursement amounts were inflated or

 17        not inflated as a result of their pricing

 18       practices.

 19                           They are, I think, sort of three

 20        categories of opinions in those that I discuss in

 21       my report because I see them as relevant to the

 22       assignment that I was given and the opinions



                                       Henderson Legal Services, Inc.
202-220-4158                                                            www.hendersonlegalservices.com
